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                    Exhibit A
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 5          rchanin@vaakllp.com
 6
     Attorneys for Plaintiff
 7   THRESHOLD ENTERPRISES, LTD.
 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10
     THRESHOLD ENTERPRISES LTD., a                   Case No.: 3:22-cv-06483-HSG
11   Delaware corporation,
                                                     THRESHOLD ENTERPRISES LTD.’S
12                       Plaintiff,                  INITIAL DISCLOSURES
13         v.
14   LIFEFORCE DIGITAL INC., a Delaware
     corporation,
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                         Defendant.
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                THRESHOLD ENTERPRISES LTD.’S INITIAL DISCLOSURES, 3:22-cv-06483-HSG
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 1          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Threshold

 2   Enterprises Ltd. (“Threshold”) hereby makes the following initial disclosures. Threshold makes

 3   these disclosures based on information currently available. Threshold continues to investigate this

 4   case and reserves the right to modify, amend or supplement these disclosures at a later time as

 5   appropriate. Additionally, these disclosures are made without in any way waiving: (1) the right to

 6   object on the grounds of competency, the attorney work product doctrine, the attorney-client

 7   privilege, undue burden, relevancy and materiality, hearsay, or any other proper ground; (2) the

 8   right to object to the use of any such information, for any purpose, in whole or in part, in any

 9   proceeding in this, or any other, action; and (3) the right to object on any and all grounds at any

10   time, to any other discovery request or proceeding involving or relating to the subject matter of

11   these disclosures.

12          1.      Witnesses

13          The following individuals are likely to have discoverable information that Threshold may

14   use to support its claims:

15          (a)     Barry Sugarman, Consultant to the President
16                  Threshold Enterprises Ltd.
17                  3 Janis Way, Scotts Valley, CA 95066
18                  Tel. (831) 438-6851
19                  Subject Matter: Threshold’s goods and services, sales, marketing, advertising,
20                  customer markets, trade channels, business activities, and media coverage in
21                  connection with LIFE FORCE.
22          (b)     Brian Cayton, Director of Corporate Development
23                  Threshold Enterprises Ltd.
24                  23 Janis Way, Scotts Valley, CA 95066
25                  Tel. (831) 438-6851
26                  Subject Matter: Threshold’s goods and services, sales, marketing, advertising,
27                  customer markets, trade channels, business activities, and media coverage in
28                  connection with LIFE FORCE.

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 1          (c)      Ira Goldberg, President

 2                  Threshold Enterprises Ltd.

 3                  23 Janis Way, Scotts Valley, CA 95066

 4                  Tel. (831) 438-6851

 5                  Subject Matter: Threshold’s goods and services, sales, marketing, advertising,

 6                  customer markets, trade channels, business activities, and media coverage in

 7                  connection with LIFE FORCE.

 8          The witnesses identified above and affiliated with Threshold can be contacted or located

 9   through undersigned counsel only. If, as the case develops, Threshold identifies additional

10   witnesses who may have discoverable information that Threshold may use to support its claims,

11   Threshold will identify them in supplemental disclosures made pursuant to Federal Rule of Civil

12   Procedure 26(e).

13          2.      Documents

14          The following categories of documents are likely to contain information that Threshold may

15   use to support its claims.

16          (a)     documents showing Threshold’s trademark use of LIFE FORCE for dietary and

17                  nutritional supplements;

18          (b)     documents relating to Threshold’s trademark registration for LIFE FORCE for

19                  dietary and nutritional supplements;

20          (c)     documents relating to Threshold’s policing, protection and enforcement of its LIFE

21                  FORCE trademark in the United States;

22          (d)     publicly available documents from Threshold’s website at www.sourcenaturals.com;

23          (e)     documents from Lifeforce Digital Inc. (“Defendant”) regarding Defendant’s use of

24                  the LIFE FORCE mark; and

25          (f)     documents from Defendant regarding Defendant’s sales of LIFE FORCE marked

26                  goods.

27          Except as otherwise indicated, the documents expected to be used in support of Threshold's

28   claims in this proceeding are stored in physical or electronic form at its principal place of business


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 1   at 23 Janis Way, Scotts Valley, CA 95066, or at the offices of Threshold’s outside counsel in this

 2   proceeding, Vallejo Antolin Agarwal Kanter LLP, 3021 Citrus Circle, Suite 220, Walnut Creek, CA

 3   94598.

 4            3.     Damages

 5            In addition to injunctive relief, Threshold will seek monetary damages. Threshold’s ability

 6   to compute its damages is dependent on information within the exclusive possession of Defendant.

 7   Threshold intends to rely on, among other information, Defendant’s sales data, revenue data, and

 8   profit data. Threshold also reserves the right to seek a reasonable royalty for Defendant’s use of the

 9   LIFE FORCE mark and disgorgement of Defendant’s profits for the infringing products. See 15

10   U.S.C. § l 117(a). Threshold is entitled to recovery of the costs of the action and potentially

11   recovery of attorney fees. See id.

12            4.     Insurance

13            There is no applicable insurance.

14
15
16   Dated: January 17, 2023                       VALLEJO | ANTOLIN | AGARWAL | KANTER LLP

17
18                                                 By:
                                                           MONTY AGARWAL
19                                                         RACHEL CHANIN
                                                           Attorneys for Plaintiff
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                                                           THRESHOLD ENTERPRISES LTD.
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                   THRESHOLD ENTERPRISES LTD.’S INITIAL DISCLOSURES, 3:22-cv-06483-HSG
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 1                                           PROOF OF SERVICE

 2          I am over the age of 18 and not a party to this action. I am a resident of or employed in the
     county where the mailing occurred; my business address is: Vallejo Antolin Agarwal Kanter LLP,
 3   3021 Citrus Circle, Suite 220, Walnut Creek, CA 94402.
            On January 17, 2023, I served, on the parties designated below the foregoing document(s):
 4
            THRESHOLD ENTERPRISES LTD.’S INITIAL DISCLOSURES
 5

 6           MATTHEW R. ORR
             GEORGE SPATZ
 7           MANON BURNS
             515 S. Flower St., 18th Floor
 8           Los Angeles, CA 90071
             Tel: (213) 933-2330
 9
             Fax: (312) 884-7352
10           matt@amintalati.com
             gspatz@amintalati.com
11           manon@amintalati.com
12           Attorneys for Defendant
13           LIFEFORCE DIGITAL INC.
              [ ] (By U.S. Mail) I deposited such envelope in the mail at San Francisco, California with
14   postage thereon fully prepaid. I am aware that on motion of the party served, service is presumed
     invalid if postal cancellation date or postage meter date is more than one day after date of deposit
15   for mailing in affidavit.
16           [X] (By Email) by sending a copy thereof via email transmission to each of the persons or
     entities at each of the email addresses designated above. I thereafter did not receive, within a
17   reasonable time after the email transmission, any electronic message or other indication that the
     email transmission was unsuccessful.
18
              I declare under the penalty of perjury under the laws of the United States that the foregoing
19   is true and correct. Executed on January 17, 2023 in San Mateo, California.

20
                                                                  _______________________
21                                                                Rachel Chanin

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                                    PROOF OF SERVICE, 3:22-cv-06483-HSG
